         Case
          Case:1:16-cv-00101-BLW   Document
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                    UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                           FEB 21 2018
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                        No.    17-35949

                Plaintiff-Appellee,              D.C. Nos.     1:16-cv-00101-BLW
                                                               1:12-cr-00155-BLW-1
 v.                                              District of Idaho,
                                                 Boise
JESUS GUADALUPE SANCHEZ, AKA
Che, AKA Jose Salazar,                           ORDER

                Defendant-Appellant.

      On January 5, 2018, this court ordered appellant, within 21 days, either to

move for voluntary dismissal of this request for certificate of appealability or show

cause why it should not be dismissed for lack of jurisdiction. The order warned

appellant that failure to comply would result in the automatic dismissal of the

appeal by the Clerk of the Court. To date, appellant has not complied with the

court’s order. Accordingly, this appeal is dismissed for failure to prosecute. See

9th Cir. R. 42-1.

      This case is now closed.

                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT

                                                  By: Karen M. Burton
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7
